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UNITED STA TES DISTRICT COURT FH-ED gaf "Z O.C_
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JAMES BROWDER JUDGMENT IN A CIVIL CASE
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00 3670
SHELBY COUNTY GOVERNMENT, et al. CASE NO: OMQ'B'Q'*D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Consent
Order of Dismissal With Prejudice entered on June 2, 2005, this
cause is hereby dismissed with prejudice.

APPROVED :

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F§UBERT R. Dl TRU§.£'§]
Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:00-CV-03070 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

